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 1   ROBERT W. LYONS (CABN 45548)

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 8                                        UNITED STATES DISTRICT COURT

 9                                       EASTERN DISTRICT OF CALIFORNIA

10                                                   SACRAMENTO

11

12   UNITED STATES OF AMERICA ,                               Case No.: 2:03-cr-00103-FCD-8

13                    Plaintiff,                               ORDER FOR SUBSTITUTION OF ATTORNEY

14           vs.

15   KHOA DANG TRAN TO ,

16                    Defendant

17

18           Upon the motion of Defendant herein, and good cause appearing therefore, it is hereby ordered that Robert

19   W. Lyons, Attorney at Law, be substituted in place and instead of Alan Baum, Attorney at Law, as attorney for

20   defendant.

21           Dated: June 24, 2005

22

23                                                      /s/ Frank C. Damrell Jr.
                                                       HON. FRANK C. DAMRELL, JR.
24                                                     UNITED STATES DISTRICT JUDGE

25




                            [PROPOSED] ORDER FOR SUBSTITUTION OF ATTORNEY - 1
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             [PROPOSED] ORDER FOR SUBSTITUTION OF ATTORNEY - 2
